Case 2:03-cr-20169-.]DB Document 534 Filed 05/24/05 Page 1 of 4 Page|D 593

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UNITED STATES OF AMERICA,

Plaintiff,
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vs. No. 03-20169-B
=|=
ERIC BROWN,
314
Defendant.

ORDER RELEASING GRAND JURY INFORMATION
TO DEFENDANT, DEFENSE COUNSEL THE
PROBATION OFFICER AND THE COURT
FOR USE AT SENTENCING
lt is hereby ORDERED that the Govemment's Motion for permission to disclose, under

the conditions described beloW, the transcript of the testimony before the grand jury of defendant
ERIC BROWN, is hereby GRANTED, and said transcript may be disclosed as follows:

a. The defendant and his counsel Will be provided a copy of the transcript of
that defendant’s testimony before the grand jury before sentencing

b. The Probation Ot`frcer assigned to this matter will be provided With a copy
of the transcript of the grand jury testimony of the above-named defendant before sentencing for
use in connection With the sentencing of the testifying defendant

c. The Govemment Will file under seal a copy of the transcript of the grand
jury testimony of the above-named defendant, for the Court’s consideration in sentencing and in
connection With any departure motion.

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Case 2:03-cr-20169-.]DB Document 534 Filed 05/24/05 Page 2 of 4 Page|D 594

DONE at Memphis, Tennessee, this 233 day of[,"_lta_ ,.2005

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@ED srArEs DIsTRréNUDGE

UNITED `sETATsDrsTRIC COUR - WESERNT D's'CTRT oFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 534 in
case 2:03-CR-20169 Was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

 

 

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Honorable .1. Breen
US DISTRICT COURT

